Case 1:19-cv-00876-JLK Document 13 Filed 04/19/19 USDC Colorado Page 1 of 8




                       IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLORADO



Civil Action No. 1:19-cv-00876-JLK

IHS MARKIT, LTD, a Bermuda Company,

                      Plaintiff

       v.

COLLIERS INTERNATIONAL WA, LLC,
a Delaware limited liability company,

                      Defendant


                       DEFENDANT’S ANSWER TO COMPLAINT

       Defendant Colliers International WA, LLC (“Colliers”), by and through its undersigned

counsel, hereby submits the following Answer in response to the Complaint filed by Plaintiff

IHS Markit, Ltd. (“Plaintiff”), dated February 28, 2019.

                                      INTRODUCTION

   1. Colliers lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 1 of the Complaint.

   2. Colliers admits that CMN, Inc. and IHS, Inc., entered into a Preferred Real Estate

Services Agreement on or about August 12, 2011, and states that the First Amendment to the

Preferred Real Estate Services Agreement states that Colliers is “successor in interest to CMN

Inc.” regarding the Preferred Real Estate Services Agreement. The remaining allegations in

Paragraph 2 of the Complaint contain legal conclusions to which no response is required. To the




                                                1
Case 1:19-cv-00876-JLK Document 13 Filed 04/19/19 USDC Colorado Page 2 of 8




extent that the allegations are construed to require a response, Colliers lacks knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 2

of the Complaint.

   3. Colliers admits the allegations in Paragraph 3 of the Complaint, except denies that the

agreement between the parties consists only of the Preferred Real Estate Services Agreement and

the First Amendment to Preferred Real Estate Services Agreement.

   4. The allegations in Paragraph 4 of the Complaint contain legal conclusions to which no

response is required. To the extent that the allegations are construed to require a response,

Colliers denies the allegations in Paragraph 4 of the Complaint.

                                            PARTIES

   5. Colliers lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 5 of the Complaint.

   6. Colliers lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 6 of the Complaint.

   7. Colliers lacks knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 7 of the Complaint.

   8. Colliers admits the allegations in Paragraph 8 of the Complaint.

   9. Colliers denies the allegations in Paragraph 9 of the Complaint, except admits that it

provides commercial real estate brokerage, advisory, and consulting services.

                                JURISDICTION AND VENUE

   10. The allegations in Paragraph 10 of the Complaint contain legal conclusions to which no

response is required. To the extent that the allegations are construed to require a response,




                                                2
Case 1:19-cv-00876-JLK Document 13 Filed 04/19/19 USDC Colorado Page 3 of 8




Colliers states that the allegations in Paragraph 10 of the Complaint are no longer applicable

because the action has been removed.

   11. The allegations in Paragraph 11 of the Complaint contain legal conclusions to which no

response is required. To the extent that the allegations are construed to require a response,

Colliers states that the allegations in Paragraph 11 of the Complaint are no longer applicable

because the action has been removed.

   12. The allegations in Paragraph 12 of the Complaint contain legal conclusions to which no

response is required. To the extent that the allegations are construed to require a response,

Colliers states that the allegations in Paragraph 12 of the Complaint are no longer applicable

because the action has been removed.

                                 GENERAL ALLEGATIONS

   13. Colliers admits that Colliers provided commercial real estate brokerage, advisory, and

consulting services to its counterparty pursuant to the Preferred Real Estate Services Agreement

and amendments thereto. Colliers lacks knowledge or information sufficient to form a belief as

to the truth of the remaining allegations in Paragraph 13 of the Complaint.

   14. Colliers denies the allegations in Paragraph 14 of the Complaint, except admits that

Colliers received commissions on commercial real estate transactions pursuant to the Preferred

Real Estate Services Agreement and amendments thereto.

   15. The allegations in Paragraph 15 of the Complaint contain legal conclusions to which no

response is required. To the extent that the allegations are construed to require a response,

Colliers respectfully refers the Court to the Preferred Real Estate Services Agreement and

amendments thereto for a true, correct, and complete statement of its contents.




                                                3
Case 1:19-cv-00876-JLK Document 13 Filed 04/19/19 USDC Colorado Page 4 of 8




   16. The allegations in Paragraph 16 of the Complaint contain legal conclusions to which no

response is required. To the extent that the allegations are construed to require a response,

Colliers states that it maintained certain funds in what the parties sometimes referred to as a

“rebate pool,” and otherwise denies the allegations in Paragraph 16 of the Complaint.

   17. The allegations in Paragraph 17 of the Complaint contain legal conclusions to which no

response is required. To the extent that the allegations are construed to require a response,

Colliers respectfully refers the Court to the Preferred Real Estate Services Agreement and

amendments thereto for a true, correct, and complete statement of their contents.

   18. The allegations in Paragraph 18 of the Complaint contain legal conclusions to which no

response is required. To the extent that the allegations are construed to require a response,

Colliers denies the allegations in Paragraph 18 of the Complaint.

   19. Colliers admits the allegations in Paragraph 19 of the Complaint, except denies that the

agreement between the parties consists only of the Preferred Real Estate Services Agreement and

the First Amendment to Preferred Real Estate Services Agreement.

   20. Colliers admits that it sent a letter on April 30, 2018 to Plaintiff and Colliers respectfully

refers the Court to the April 30, 2018 letter for a true, correct, and complete statement of its

contents. Colliers otherwise denies the allegations in Paragraph 20 of the Complaint.

   21. Colliers admits that Plaintiff has accurately quoted an excerpt of the April 30, 2018 letter

to Plaintiff. Colliers respectfully refers the Court to the April 30, 2018 letter for a true, correct,

and complete statement of its contents. Colliers otherwise denies the allegations in Paragraph 21

of the Complaint.




                                                  4
Case 1:19-cv-00876-JLK Document 13 Filed 04/19/19 USDC Colorado Page 5 of 8




   22. Colliers denies the allegations in Paragraph 22 of the Complaint, except admits that

Plaintiff owes $213,333.33 to Colliers, comprised of $40,000 for each quarter from January 2017

through March 2018, plus a prorated amount of $13,333.33 for the second quarter of 2018.

   23. The allegations in Paragraph 23 of the Complaint contain legal conclusions to which no

response is required. To the extent that the allegations are construed to require a response,

Colliers denies the allegations in Paragraph 23 of the Complaint.

   24. The allegations in Paragraph 24 of the Complaint contain legal conclusions to which no

response is required. To the extent that the allegations are construed to require a response,

Colliers admits that the parties discussed a $40,000 quarterly payment to Colliers, and otherwise

denies the allegations in Paragraph 24 of the Complaint.

   25. The allegations in Paragraph 25 of the Complaint contain legal conclusions to which no

response is required. To the extent that the allegations are construed to require a response,

Colliers denies the allegations in Paragraph 25 of the Complaint.

                                 FIRST CAUSE OF ACTION
                                    (Breach of Contract)

   26. Colliers incorporates each of the paragraphs above.

   27. The allegations in Paragraph 27 of the Complaint contain legal conclusions to which no

response is required. To the extent that the allegations are construed to require a response,

Colliers denies that the agreement between the parties consists only of the Preferred Real Estate

Services Agreement and the First Amendment to Preferred Real Estate Services Agreement, and

denies the allegations in Paragraph 27 of the Complaint.




                                                5
Case 1:19-cv-00876-JLK Document 13 Filed 04/19/19 USDC Colorado Page 6 of 8




   28. The allegations in Paragraph 28 of the Complaint contain legal conclusions to which no

response is required. To the extent that the allegations are construed to require a response,

Colliers denies the allegations in Paragraph 28 of the Complaint.

   29. The allegations in Paragraph 29 of the Complaint contain legal conclusions to which no

response is required. To the extent that the allegations are construed to require a response,

Colliers denies that the agreement between the parties consists only of the Preferred Real Estate

Services Agreement and the First Amendment to Preferred Real Estate Services Agreement, and

denies the allegations in Paragraph 29 of the Complaint.

   30. The allegations in Paragraph 30 of the Complaint contain legal conclusions to which no

response is required. To the extent that the allegations are construed to require a response,

Colliers denies the allegations in Paragraph 30 of the Complaint.

                                    PRAYER FOR RELIEF

       Plaintiff’s Prayer for Relief contains statements to which no responsive pleading is

required. Colliers denies that Plaintiff is entitled to any damages or any of the other relief

requested.

                                     GENERAL DENIAL

       Colliers denies each and every allegation in the Complaint, except as expressly admitted

or otherwise stated above.

                                 AFFIRMATIVE DEFENSES

   1. Plaintiff fails to state a claim upon which relief can be granted.

   2. Plaintiff is estopped, in whole or in part, from recovering damages or any of the other

relief requested.




                                                6
Case 1:19-cv-00876-JLK Document 13 Filed 04/19/19 USDC Colorado Page 7 of 8




    3. Plaintiff’s claims are barred, in whole or in part, because Plaintiff has not suffered any

damages or injury resulting from any act or omission of Colliers.

    4. Plaintiff’s claims are barred, in whole or in part, due to waiver.

    5. Colliers has fully performed its obligations to Plaintiff pursuant to the Preferred Real

Estate Services Agreement and amendments thereto.

                                         CONCLUSION

        WHEREFORE, Colliers respectfully requests that the Court enter judgment in its favor,

against Plaintiff, as follows:

    a. A judgment denying all relief against Colliers;

    b. Awarding Colliers its attorneys’ fees, costs, and expenses pursuant to the parties’

        agreement;

    c. For such other relief as the Court deems just and proper.



Dated: April 19, 2019                    Respectfully Submitted,



                                         By: /s/ Todd R. Seelman
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                                                 7
Case 1:19-cv-00876-JLK Document 13 Filed 04/19/19 USDC Colorado Page 8 of 8




                            CERTIFICATE OF SERVICE

     I hereby certify that on this 19th day of April, 2019, a copy of the foregoing
DEFENDANT’S ANSWER TO COMPLAINT was filed with the Clerk of the Court using the
CM/ECF system, which will send notification of the filing to the following:

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                                            /s/ Mark Keenan
                                            A duly signed original is on file at the Law
                                            Offices of LEWIS BRISBOIS




                                        8
